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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------------------x
TAVON TURER, on behalf of himself and all                    CASE NO.: 1:24-cv-08337-JLR
others similarly situated,

                          Plaintiff,
v.

SHOP UNTITLED NYC INC.,

                           Defendant.
--------------------------------------------------------x

                              NOTICE OF ATTORNEY APPEARANCE

          Nolan Klein, Esquire, of the Law Offices of Nolan Klein, P.A., hereby gives notice of

appearing as counsel of record for Defendant, SHOP UNTITLED NYC INC., in the above-styled

action.

          DATED this 7th day of November, 2024.

                                                            Respectfully Submitted,

                                                            LAW OFFICES OF NOLAN KLEIN, P.A.
                                                            Attorneys for Defendant
                                                            5550 Glades Road, Suite 500
                                                            Boca Raton, FL 33431
                                                            PH: (954) 745-0588

                                                            By: /s/ Nolan Klein
                                                            NOLAN KLEIN, ESQ.
                                                            (NK 4223)
                                                            klein@nklegal.com
                                                            amy@nklegal.com
        Case 1:24-cv-08337-JLR       Document 6     Filed 11/07/24    Page 2 of 2




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing instrument was e-filed with the Clerk

of the Court using CM/ECF, this 7th day of November, 2024.

                                                By: /s/ Nolan Klein
                                                NOLAN KLEIN, ESQ.

                                    SERVICE LIST:

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